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                                                                                               Zoning

           The subject is located in the Proposed M-Crown Zoning District.

  This appraisal utilizes the proposed M-Crown zoning on the subject site at the specific
  requirements of the client.




                                                                        RIA   /       /.
              High-densi    C Sigpf(cant new residential and Commercial


              New High      ensity C    textual M     I Preserve existing job clusters and incentivize new
              New Mediui,     'ns      Lontextual M     commercial/industrial
              MX: Significant ne    residential and will allow commercial/industrial




                                          Republic Valuations                                          44




                                                                                                             VA 011999
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                                                                                                        Zoning




         Proposed subzone densities
         and envelopes
                                                                            FAR
          Subzone                  Height                     M-CROWN       Other non-
                                                     Total                                Residential
                                                                uses        residential

          C                        145 ft.           6.50                                    4.60

          MX      -   side         105 ft.           5.00        0.25                        3.60

          MX -avenue               105 ft.           5.00                                    4.60

          M   -   medium            75 ft.           3.00        0.50

          M -high                   110 ft.          5.00


                  M-CROWN uses include

                       • Light industrial application
                       • Studios for the full-räflge of ártuiises (art, film, sound, dance, etc.) and
                                          ."               n
                         space for arts ajTlay cultu t
                                                     & eorganizations
                                                           '


                             Child care
                             Medical-
                                    offices
          • FAR for C'                '       ubz'       includes MIH
          • M subzones include preferential FAR for M-CROWN uses
                    V4104k,     AV


  Based on the above, the sUbject sites are located in the C (High Density), MX                            -    Side

  and MX- Avenue Districts.




                                                      Republic Valuations                                      45




                                                                                                                       VA 012000
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                                                                                                             Zoning

  BUILDABLE AREA CALCULATION                            -   AS OF RIGHTS


  PROPOSED M-CROWN ZONING



                                                    M-Crown Rezoning Density


                                                    Sf in MX   -   SI in MX-   SF in C (High   Residential   Commercial
              Total Lot Size    Zoning               Avenue          Side        Density)         FAR           FAR
    Lot: 1        22,000       C, MX     -   Side                    5000         17,000         96,200        39,300
   Lot: 68        2,500         MX   -   Side                        2500                         9,000         3,500
   Lot: 71        4,500         MX- Ave                4500                          4.          20,700         1,800
                Total Residential FAR based on Proposed M-Crown Zoning           1
                                                                                 41or            125,900
                       Total Commercial FAR based on Proposed M-CrownZohin.                                    44,600
             Total Combined FAR (Residential and Commercial) on Proposl M-CrownZoning                          170,500


  *N ot
      e: The appraiser is not an expert in analysis otNew YorkCity zoning regulations. If there is
                                                           A01
  any question regarding zoning, it is recommended thata,zoning expert be consulted.




                                                      Republic Valuations                                          46




                                                                                                                          VA 012001
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                                                                         Highest & Best Use

  The objective of the highest and best use analysis is to determine which use or uses
  produce the greatest return on capital, time and effort. In an appraisal, the concept of
  highest and best use represents the premise upon which value is based.

  The reasoning for the highest and best use analysis is to establish guidelines, for use,
  that result in the highest return on investment. The process takes into consideration
  physical and legal restrictions as well as limitations imposed by economic factors.

  For the purpose of this appraisal highest and best use is defined as:

  Highest and Best Use

  The reasonably probable and legal use of vacant land or an improved property, which is
  physically possible, appropriately supported, financially feasible, and that results in the
  highest value.    The four criteria The Highest and Best Use must meet are legal
  permissibility, physical possibility, financial feasibility, and maximum profitability. 12

  The highest and best use conclusion is based upon a deductive process, first
  considering all uses and then eliminating those that do not meet the four criteria. A
  highest and best use determination of the subject is reached when all the reasonably
  probable alternatives have been considered and a conclusion has been reached as to
  the best among them.

  In order to establish the highest and best use of the subject, data is extracted from city,
  regional and governmental sources relative to the four criteria, and analyzed. The
  results of the analysis are% used to decide what impact this information has on the
  highest and best use of the subject.

  The conclusion of highest and best use of the subject denotes specific parameters for
                          11 11
  selecting comparable information in the three approaches to value. Therefore, highest
  and best use is directly related to value.




    12    The Dictionary of Real Estate Appraisal, 4th ed. (Chicago: American Institute of Real Estate
 Appraisers, 2002),   p.   135.



                                          Republic Valuations                                  47




                                                                                                     VA 012002
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                                                                   Highest & Best Use

   Analysis Of The Subject As If Vacant



  Legally Permissible: Legal restrictions, as they apply to the subject property, include
  the public restrictions of zoning and the private restrictions of easements and restrictive
  covenants. The site is part of the proposed M-Crown zoning, which will allow for
  neighborhood residential, commercial light industrial and community uses. There are
  no known private restrictions on land uses. In addition, there are no known adverse
  easements, which affect the property.

  Physically Possible: The shape and size of the parcel lends itself to a variety of
  development possibilities.     The topography and soil compositions appear to be
  adequate to support development of the parcel based upo,the existence of the subject
  improvements and the surrounding structures. As mentioned in the site description, the
  property is level at street grade. Therefore, the phy1cl'crIaacteristics of the parcels
  do not inhibit development of the site.

  Financially Feasible: The demand for vacan.land insuch a deVeloped area is difficult
  to measure due to the scarcity of vacant land      hict10 n be developed in a financially

  feasible manner. Based upon the uses,permittedsithin the zoning codes, the parcels
  could be improved with residential, manuf   acturing or'c4mmunity use project that would
  have to provide a positive net return to the     ndtobe economically feasible. Land of
                                            10 A Ale
  this size could support residenj!alwor corn itye development. The property is
  located within a densely developeFresidential district. Apartment and commercial rents
                                                "4
  and sale prices have stabilized the past.24+/months.

  Maximally Productive: Basecfrupon the analysis of the legally permitted, physically
  possible and financially feasible"ues for the property, the most profitable and highest
  and best use of the5arcel, itvacant.and available for development, is to develop to the
  maximum density p'e?mitted undr the zoning laws.




                                      Republic Valuations                              48




                                                                                                VA 012003
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                                                                Highest & Best Use

   Analysis Of The Subject As Improved


  Since this valuation considers only the value of the subject site, a Highest & Best Use
  as improved is not applicable.




                                     Republic Valuations                           49




                                                                                            VA 012004
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                                                                     Valuation Process

  Market Value: The valuation process contains all the steps necessary for this type of
  assignment. The appraisal process also establishes the methodology for estimating
  many other forms of value. A specific series of procedures constitutes the valuation
  process; the application of these procedures depends on the nature of the appraisal
  assignment and the data available.

  Traditional appraisal theory applies three approaches to arrive at an estimate of value.
  The foundations for these approaches are Cost, Market (Sales Comparison) and
  Income. One or more approaches to value may be used depending on their applicability
  to the particular appraisal assignment. All three approaches are applicable to many
  appraisal problems, but one or more of the approaches may have greater significance in
  a specific assignment.     Wherever possible, the appraic::; applies the approach or
  approaches deemed most appropriate in order to arrive at'é final value estimate

  In an appraisal assignment, the ultimate goal of the valuation process is a well-
  supported conclusion that reflects all the factors that influence the value of the property
  being appraised. To achieve this goal, an appraiser studies ,a property from three
  different viewpoints, which correspond to the three traditional approaches to value.
  Other procedures such as the use of inferential statistics, regression analysis and
  economic models also contribute to the valuation process by providing the basis for
  assumptions, forecasts and conclusions.

  From the approaches applied, the appraiser derives separate indications of value for the
  property being appraised. One or more of the approaches may not be applicable to a
  specific assignment or may be less reliable due to the nature of the property, the needs
  of the client, or the data available. The alternate value indicators tend to approach a
  conclusion of value from various points of perception, thus addressing the different
  reasoning and rationale for '   t' final conclusion of value.     In addition, alternative
  methods can serve as useful checks on one another.             The appraisal process is
  reconciled in a conclusion which integrates the information drawn from market research
  and data with the appropriate valuation techniques. This conclusion may be presented
  as a single point estimate of value or as a range within which the value may fall.

  This appraisal will utilize only the Sales Comparison Approach to value.    The Cost
  Approach could not be applied without a specific development plan. The subject site as
  if vacant would provide little or no income. Therefore, the Income Approach was not
  considered relevant.




                                      Republic Valuations                              50




                                                                                                VA 012005
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         The Sales Comparison Approach
  The Sales Comparison Approach is the process in which a Market Value estimate is
  derived by analyzing the market for similar properties and comparing these properties to
  the subject property. Estimates of market rent, cost, depreciation, and other value
  parameters may be derived in the other approaches to value using comparative
  techniques.   Often these elements are also analyzed in the Sales Comparison
  Approach to determine the adjustments to be made to the sale prices of comparable
  properties. The comparative techniques of analysis applied in the Sales Comparison
  Approach are fundamental to the valuation process.

  In the Sales Comparison Approach, market value is estimated by comparing the subject
  property to similar properties that have recently soId,Øreisted for sale, or are under
  contract (i.e., recently drawn up purchase offers acompanidy a cash or equivalent
  deposit). A major premise of the Sales Compa,Q sn Approach .çsjhat the market value
  of a property is directly related to the prices of comparable, competitive properties.

  The comparative analysis performed ,jthe apfoacb focuses on similarities and
  differences among properties and transactions thatcaffect value. These may include
  differences in the property rights appraised, thern,otivations of buyers and sellers,
  financing terms, market conditios-açthe time of sale, size, location, physical features,
  and if the properties prod uce"Thcome,\economic characteristics.           Elements of
  comparison are tested agais'i mafk!et evidence to determine which elements are
                             '%     ,'A.-.7 3
  sensitive to change and bow they•affect value.


                                       I'




    13
         The Appraisal of Real Estate, 12th ed. (Chicago: Appraisal institute, 2001), p. 425.



                                             Republic Valuations                                51




                                                                                                     VA   012006
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                                                         The Sales Comparison Approach

   Procedure

  To apply the Sales Comparison Approach, an appraiser follows a systematic procedure.
  A general outline of the basic procedure follows.

  1.     Research the market to obtain information on sales transactions, listings, and
         offers to purchase or sell properties that are similar to the subject property in
         terms of characteristics such as property type, date of sale, size, location, and
         zoning.

  2.    Verify the information by confirming that the data obtained are factually accurate
        and that the transactions reflect arm's-length market considerations. Verification
        may also elicit additional information about the market>

  3.     Select relevant units of comparison) e.g., income-mu
                                                            l
                                                            tipliers or dollars per acre or
         per square foot) and develop a comparative analisfor each unit.

  4.     Compare comparable sale properties wfit the subject property using the
         elements of comparison and adjust/the sale price'of each comparable
         appropriately to the subject to varying occupan cies and economies, a resulting
         range of values may be a bettej conclusion than a single value estimate in
         certain cases.

  Adjustments can be made either to totalprOpertprices or to appropriate units of
  comparison. Often adjustments.f&4he pr    ope r
                                                ty rights conveyed, financing, conditions
  of sale (motivation), and date1 of sal (market conditions) are made to the total sale
  price. The adjusted price ishen coierted "iito a unit price (e.g. per square foot, per
                                     'r-".,
  apa rt ment unit or per acre) and'adjustedfor other elements of comparison such as
                                  "...               '




                           .a         '¼    14
  location and physical characteristics.

  The Sales Comparison Approacl1 will be used to derive market value. In the case of the
  subject property, th'itnit of corparison selected is the price per square foot, as this is
  typically the measure EVhicb,this type of property is valued.




   14    The Appraisal Of Real Estate, 12th ed. (Chicago: Appraisal Institute, 2001), pp. 425-427




                                           Republic Valuations                                      52




                                                                                                         VA 012007
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                                             The Sales Comparison Approach




     The following section values the subject site based on the
                          Current Zoning.




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                                                                                  VA 012008
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                                                    The Sales Comparison Approach

            THE FOLLOWING SALES VALUE THE 21,824 COMMERCIAL FAR.



   ANALYSIS & ADJUSTMENT FACTORS

   On the following pages sales of development sites are presented. The sold properties
   represent sites similar to the subject situated within the subject immediate and
   surrounding neighborhoods. In the discussion below, the appraiser outlines various
   adjustments for market factors which differ from those of the subject.

   Adjustment Process Overview: In analyzing comparable sales data, it is important to
   note that the adjustment process adjusts the comparable sales to the subject.              In
   adjusting for significant variations between the subject and the comparable properties,
   the analysis includes a percent adjustment reflecting the appropriate market reaction to
   those items. If a significant item in the comparablep,rdiQrty is superior to, or more
   favorable than, the subject property, a minus (-) adjustment4smade, thus reducing the
   indicated value of the subject if a significant item in the comparable is inferior to or less
   favorable than, the subject property, a plus       adjustment is made, thus increasing the
   indicated value of the subject. For example 1fthe100
                                                      r.      comparable sale has a location
   inferior to the subject, it would require an upwaçdadjustment in order to reflect the
   subject's geographical characteristics. All'adjustme ts utilized will follow this process of
   adjusting the comparable sale to the subje"...
                                             'S ct

   Real Property Rights Conveyed:Thelranacti5h price is always based upon the
   property interest conveyed. All of\tfje sal&s transferred fee simple. Therefore, no
   adjustments are required.

   Financing Terms: A      opefty"s"ales r5fide can also be influenced by the financing
   obtained to purchase tj3eprpertyny unusual financing such as below rate financing,
   balloon mortgages, installrSrt4 sales contracts or any other unusual financing is
   examined and any appropriate adjustment is applied if necessary.
                                   AV
   Conditions of Sale: Conditi on s of sale adjusts for the motivation of the buyer and
   seller. An appropriate adjustment is developed based on whether the sale was an
   arm's length transaction, a distressed property sale, a foreclosure or a land
   assemblage. Each of the sales was verified to be an arm's length transactions and no
   adjustment was applied.

   Market Conditions/Date of Sale: This adjustment reflects the change in value from
   the date of sale to the date of appraised value caused by changes in market conditions.
   The adjustments applied to the comparable are derived from primary and secondary
   data extracted from the market as well as information provided by financial institutions
   and real estate publications. All the sales took place during a period of stable market
   conditions. Therefore, no adjustments were noted.




                                          Republic Valuations                              54




                                                                                                   VA 012009
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                                                  The Sales Comparison Approach

   Location: The factors that are considered in developing a location adjustment include
   visibility, access to major highways and traffic flow. After these factors are considered,
   an appropriate adjustment is developed and applied to the comparable sale.
   Comparable sales which are located in inferior locations were adequately adjusted.

   Developable Area:      We have adjusted the sales for size because the market
   recognizes an economy of scale whereby smaller sites sell at a higher price per square
   foot than larger ones.

   Approved Plans: The comparable sales that have approved plans were adequately
   adjusted to reflect the effort and money spent obtaining them.

                                                                I
   Zoninq: The subject and comparable are located in simj!       oning districts which allow
   for the same FAR.




                                        Republic Valuations                             55




                                                                                                VA 012010
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                                                              The Sales Comparison Approach




                   Comparable Sale #1: Grand Avenüe'Brooklyn, New York



          Address                                       VS'           '    Grand Avenue

          Location                 5" "$                  '                Brooklyn, NY

          Block/Lot               4KAt._..                    P                1125/1

          Lot Size (SF)            '*    1#   '                                10,000

          Property Type     5'h           4                               Development Site

          Lot Influence*'          '*,            '#                           Corner

          Zoning          '$u.      $                                          Mi-I

          Maximum FAR        '4    4"                                            1

          Maximum Development(sf)                                              10,000

          Property Rights                                                   Fee Simple

          Date of Sale                                                    October 24, 2018

          Sale Price                                                        $6,050,000

          Price Per Buildable SF                                               $605
          Grantor                                                 Meier Family Limited Partnership
          Grantee                                                     EMP Grand Pacific LLC




                                                  Republic Valuations                                56




                                                                                                          VA 012011
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                                                            The Sales Comparison Approach




          Comparable Sale #2: 601 & 615 SackéttStrt, Brooklyn, New York



          Address                                 *    "    *Ir. 60 ?   615 Sackett Street
          Location                                               ""     Brooklyn, NY

          Block/Lot                                    lk
                                                       I                427/61 & 66

          Lot Size (SF)        4k                                          16,000
          Property Type            !*    a*                           Development Site

          Lot Influence     ____       4.,.                              Mid-Block

          Zoning         4'        "*,    '4                               M1-2

          Maximum F/tR\                                                      2

          Maximum Development      (sp                                     32,000

          Property Rights     "V                                        Fee Simple

          Date of Sale                                              December 20, 2018

          Sale Price                                                    $11,700,000
          Price Per Buildable SF                                           $366
          Grantor                                                       Bak USA LLC
          Grantee                                             601 Sackett Property Owner LLC




                                              Republic Valuations                              57




                                                                                                    VA 012012
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                                                               The Sales Comparison Approach




              Comparable Sale #3: 553 Sacketttreetrooklyn, New York



          Address                                  *                 5%3 Sackett Street

          Location                         -        "*    S"*           Brooklyn, NY

          Block/Lot                 ,5'•"4i,          '   (                426/49

          Lot Size (SF)        ,S'             1                            8,500

          Property Type            "*¼                    )P          Development Site

          Lot Influence                                                  Mid Block

          Zoning          5'       "*,     "t                               M1-2

          Maximum FAR\                                                        2

          Maximum Deveitment       (sf)l                                   17000

          Property Rights                                                Fee Simple

          Date of Sale                                                October 25, 2018

          Sale Price                                                     $5,800,000
          Price Per Buildable SF                                            $341
          Grantor                                                     ATS Reatly, Inc.
          Grantee                                                    553 Sackett St, LLC




                                               Republic Valuations                         58




                                                                                                VA 012013
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                                                                The Sales Comparison Approach




                                                                     14
              Comparable Sale #4: 239 Nevins'Street,' Brook lyn, New York



          Address                                           *       _j2f39 Nens Street

          Location                                          \0            Brooklyn, NY
                                                            "
          Block/Lot                AI#'       '   11 1111                    412/1

          Lot Size (SF)           4K       A4—_,.               V            10000

          Property Type       -        '4*'                           Development Site

          Lot Influence     a$'h          4..                                Corner

          Zoning         A"        '$      *                                 M1-2

          Maximum FARK                                                         2

          Maximum Development ,(sf)                                          20000

          Property Rights     NV                                          Fee Simple

          Date of Sale                                                     10/3/2017

          Sale Price                                                      $10,000,000

          Price Per Buildable SF                                             $500

          Grantor                                                          L.C.R.-LLC
          Grantee                                                   239 Nens Street LLC




                                              Republic Valuations                         59




                                                                                                VA 012014
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                                                                                                                          The Sales Comparison Approach

                                                                         COMPARABLE SALES MAP

                                  CoIbus'/                         •C.55                                    '7   r
                                                                                                                                                                                      UrIOK   LMVCRU)


                                       Park    A                              LOWER
           uare9                              vJ                         EAST-SIDE
                                        es oadwl                                                 i                                                                           ,        ti eiso pa'iul"

           Work                               .                                   .


                      TWO          BRIDGES

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                                                                                                                                                 WILLIAMSBURG


            C_janescarou;:iQq                                              Main'                                                                                                       t
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                                                                                                                                                                                      BROADWA
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                               BrooMyn
                              B idgePark                                                         8u1ding929
                                                                                                                                                                        ;             '-I


           r                                                       DUMBO
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               •                  r'BROOKLYN
                                                       -




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                   Brooklyn             HEIGHTS                                University         1 'I,              p
                ParkP?ers
                                                                                                 Menleaae
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                                                                                                                               ttr
                              t             New York Q                                                                   e
                                  T"                                     4'           Comparable sale 4
                                              mu                        /                                                                                               --
                      -



                                                                                      239 Nevins Street                                            Comparable Sale I
                                                                                      Brooklyn, NY                                     I           OrandAvenue       t-
                          :                                                           0.59 toes ow                                                 Brooklyn, NY
                      4   COBBLE Hit                       I                                                                                       0.31 miles SE
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                    OAR Brook", NY
                   io   loO miles ow                                                                                           PROSPECT)                .                 '-'    --           BROO]
                                                                                                                                HEIGHTS            "-




                                       \,iC',                                                                                                                            rhiid.a, '        Brooklyn     ç
                                                                                        omparable Sale 2       and                                      -
                                                                                       6 &51 5Sackett Slreel I, Plaza                                              Subject
                                                                                                                                                                   840 Atlantic Avenue
                                                                                       B(ok1yn, NY                             yn Mu'seun,   9               .     Brooklyn, NY,
                                                                                       0.tçiies SYI         -                     '          BOfl

                                                                                                                                             Botanic
                                                                                       RK SLOPE                                         I.   Garden                                   CROWN H

                                       NI                                                                    Prospect Park Zoo
                                                                                                                          -                      Medgar Evers College


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                                                       SOUT H SLOPE
                                                                                                                                                                          PROSPECT


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                      GREENWOOD                                                                      Is-
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                                                                                                          Parade Ground                10
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                                                                                             Republic Valuations                                                                                              60



                                                                                                                                                                                                                   VA 012015
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                                                                         The Sales Comparison Approach
                                                      SUMMARY OF COMPARABLE LAND SALES & ADJUSTMENT GRID
                                                                              SALES COMPARISON APPROACH
                                            Subject                    Comparable Sale #1                 Comparable Sale #2                       Comparable Sale #3      Comparable Sale #4
                                    838-844 Atlantic Ave & 847
Address                                   Pacific Street                   Grand Avenue                601 & 615 Sackett Street                     553 Sackett Street       239 Ne'Ans Street
Location                                  Brooklyn, NY                      Brooklyn, NY                       Brooklyn, NY                              Brooklyn, NY          Brooklyn, NY
Block/Lot                                1122/1, 68& 71                         1125/1                             427/61 & 66                              426/49                412/1
Lot Size (SF)                                21,824                             10,000                               16,000     4.                           8,500                10,000
Property Type                           Development Site                  Development Site                    Development Site                      Development Site         Development Site
Lot Influence                          Corner, Mid-Block                        Corner                              Mid-Block                              Mid Block              Corner
Zoning                                        MI-I                               MI-I                                 M1'2      '%    -                      Ml-2                  MI-2
Maximum FAR                                    1.00                              1.00                                 2.00           "ta.                    2.00                  2.00
Maximum Development (s                       21,824                             10,000                    -    -     32,000               %                  17,000               20,000
Property Rights                            Fee Simple                        Fee Simple                            Fee Simple                 'V          Fee Simple            Fee Simple
Date of Sale                                   N/A                        October 24, 2018                 December 20, 2018                        October 25, 2018         October 3, 2017
Sale Price                                     N/A                           $6,050,000                   "%'$11i'700,000                                 $5,800,000           $10,000,000
Price Per Buildable SF                         N/A                               $605                         ',$366                                         $341                  $500
Grantor                                                              Meier Farrily Limited Frtrsh1?            BktJSA LLC                               ATS Reatly, Inc.        L.
                                                                                                                                                                                 C.R.-LLC
Grantee                                                               EMP Grand Pacific     tic       6OIckett pr≥betty Owner LLC                  553 Sackett St, LLC     239 Ne'Ans Street LLC


Adjustments                                                                                    jt1 9'
Property Rights                                                                                                       0.0%                                   0.0%                  0.0%
Financing Terms                                                         ,4      0.0%4             '                   0.0%                                   0.0%                  0.0%
Conditions of Sale                                                     %        0.0%                  V               0.0%                                   0.0%                  0.0%
Market Conditions (time)                                                  qvk   ao%       "'                          OAJ%                                   O.O%                  110%

                                                                             "1"100%.                                 0.0%                                   0.0%                  0.0%
           Adjusted Price pbsf                                                   $605                                 $366                                   $341                  $500
                        Location                                            • Similar)                               Similar                                Similar               Similar
                                                        ¼                       0.0%                                  0.0%                                   0.0%                  0.0%
         Developable Site Area               21824                           ) Similar                               Similar                                Similar               Similar
                                                            "    i              0.0%                                  0.0%                                   0.0%                  0.0%
           Utility: Lot Influence      Corner, Mid-Block        Ni   ¼Iy'       Corner                              Mid-Block                              Mid Block              Corner
                                                                                0.0%                                  5.0%                                   5.0%                  0.0%
                Approved Plans                None                             Similar                               Similar                                Similar               Similar
                                                                                0.0%                                  0.0%                                   0.0%                  0.0%
                         Zoning               MI-1                               MI-I                                 M1-2                                   MI-2                  MI-2


              Net Adjustments                                                   0.0%                                  5.0%                                   5.0%                  0.0%
    Adjusted Sale Price pbsf                                                     $605                                 $384                                   $358                  $500
            ftA'nimum                         $358
            Maximum                           $605
    Average Price pbsf                        $462




                                                      Republic Valuations                                                                          61




                                                                                                                                                                                                   VA 012016
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                                                       The Sales Comparison Approach

   CONCLUSION

   The adjustment process considers the value of the subject "as is".           The appraiser

   analyzed the comparable sales and after adjustments noted a range from $358 to $605

   per buildable square foot. The appraiser gave most weight to comparable sale #1 as it

   is the most similar to the subject property, is located in the M1 -1 zoning and is located in

   close proximity to the subject.       Therefore the appraiser estimated the value for the

   subject site at $600 psf.



          (Buildable Area)     x         (Est. Value PBSF)         =       (Total Value)



          21,824(FAR)SF         x         $600 PSF                         $13,094,400

                                                                   Say     $13,100,000




   Based on the preceding analysis. the market value of the Commercial FAR of subject

   property via the Sales Comparison Approach is therefore concluded to be:



                                    *.      *#
               THIRTEEN MILLIO NONE HUNDRED THOUSAND DOLLARS

                                                 $13,100,000




                                            Republic Valuations                            62




                                                                                                   VA 012017
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                                                   The Sales Comparison Approach




            THE FOLLOWING SALES VALUE THE 14,352 RESIDENTIAL FAR.



   ANALYSIS & ADJUSTMENT FACTORS

   On the following pages sales of development sites are presented. The sold properties
   represent sites similar to the subject situated within the subject immediate and
   surrounding neighborhoods. In the discussion below, the appraiser outlines various
   adjustments for market factors which differ from those of the subject.

   Adjustment Process Overview: In analyzing compara ble ales data, it is important to
   note that the adjustment process adjusts the comparable sales to the subject. In
   adjusting for significant variations between the subje       d'4Ii,e comparable properties,
   the analysis includes a percent adjustment reflectin'fr the approp riate market reaction to
   those items. If a significant item in the compa'Fable property                  to, or more
   favorable than, the subject property, a minus (Q'adjustrient is made, thus reducing the
   indicated value of the subject; if a significant itemn4he comparable is inferior to, or less
   favorable than, the subject property, a plus4+) adjustment is made, thus increasing the
   indicated value of the subject. For exam pl e if thomparable
                                                            Ic             sale has a location
   inferior to the subject, it would require anuØ'v7ard.adjustment in order to reflect the
   subject's geographical characteristiE\ All adjustments utilized will follow this process of
   adjusting the comparable sale?d'ihe subject.
                                4
   Real Property Rights Conveyd:rThe4ansaction price is always based upon the
   property interest con\,ey AIlS the sales transferred fee simple. Therefore, no
   adjustments are required.

   Financing Terms:         propert"§ sales price can also be influenced by the financing
   obtained to purchase tb,property. Any unusual financing such as below rate financing,
   balloon mortgages, installment sales contracts or any other unusual financing is
   examined and any appropriate adjustment is applied if necessary. Comparable sale #1
   features sellers financing, an adjustment was therefore applied.

   Conditions of Sale: Conditions of sale adjusts for the motivation of the buyer and
   seller. An appropriate adjustment is developed based on whether the sale was an
   arm's length transaction, a distressed property sale, a foreclosure or a land
   assemblage. Each of the sales was verified to be an arm's length transactions and no
   adjustment was applied.

   Market Conditions/Date of Sale: This adjustment reflects the change in value from
   the date of sale to the date of appraised value caused by changes in market conditions.
   The adjustments applied to the comparable are derived from primary and secondary




                                         Republic Valuations                              63




                                                                                                  VA 012018
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                                                  The Sales Comparison Approach

   data extracted from the market as well as information provided by financial institutions
   and real estate publications. All the sales took place during a period of stable market
   conditions. Therefore, no adjustments were noted.

   Location: The factors that are considered in developing a location adjustment include
   visibility, access to major highways and traffic flow. After these factors are considered,
   an appropriate adjustment is developed and applied to the comparable sale.
   Comparable sales which are located in inferior locations were adequately adjusted.

   Developable Area: The market recognizes an economy of scale whereby smaller sites
   sell at a higher price per square foot than larger ones. We have not adjusted for size as
   the subject consists of afew lots.

   Approved Plans: None of the comparable sales have approved plans as of the time of
   sale, comparable sale #5 had filed plans which were approved six months after the sale
   an adequate adjustment was applied.

   Zoninq: The subject and comparable are locat       in similar zoning' districts.




                                        Republic Valuations                             64




                                                                                                VA 012019
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                                                      The Sales Comparison Approach




           Comparable Sale #1: 90, 92 &'4 4Aenue, Brooklyn, New York



          Address                                          90, 92 & 94 4th Avenue
                                                  p
          Location                                                Brooklyn, NY

          Block/Lot         lr.                                 395/35, 36 & 37
          Lot Size (SF)     "      "S
                                    n   "It.
                                                                     12,904

          Property Typ '4..         $                           Development Site

          Lot Influence     '4. .0                              Corner, Mid-Block

          Zoning              'U"                               RSA, EC-1 /C2-4

          Maximum FAR                                                 6.02

          Maximum Development (sf)                                   77,682

          Property Rights                                          Fee Simple

          Date of Sale                                           June 26, 2018

          Sale Price                                              $22,885,631

          Price Per Buildable SF                                     $295
          Grantor                                                  94 4th LLC
          Grantee                                     4th Avenue Development Owner LLC




                                          Republic Valuations                            65




                                                                                              VA 012020
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                                                         The Sales Comparison Approach




             Comparable Sale #2: 484 SteThng,flaEeBrooklyn, New York



          Address                                                    484 Sterling Place

          Location               4 tir      ,Nt..                      Brooklyn, NY

          Block/Lot                                                       1174/18

          Lot Size (SF)     St..
                            1            '*k                               9825

          Property TypeY           '*       *                        Development Site

          Lot Influence*,Mid Block

          Zoning            4.        Ø                                     R6A

          Maximum FAR                                                        3

          Maximum Development        (sf)                                 29,475

          Property Rights                                               Fee Simple

          Date of Sale                                               October 10, 2017

          Sale Price                                                   $15,000,000
          Price Per Buildable SF                                           $509

          Grantor                                            484 Sterling P1 LLC & Al LLC
          Grantee                                            484-490 Sterling Fl NY Corp




                                               Republic Valuations                          66




                                                                                                 VA 012021
Case 1:19-cv-06471-DLI-ST Document 63-19 Filed 06/24/22 Page 24 of 49 PageID #: 4494



                                                       The Sales Comparison Approach




          Comparable Sale #3: 805 Washington Avenue, Brooklyn, New York



          Address                     ,           \ P'       8d5 Washington Avenue

          Location                                                  Brooklyn, NY

          Block/Lot            %h         rtL'Y                         1180/6

          Lot Size (SF)                                                 7417

          Property Type,4'"4..            '4.                      Development Site
          Lot Influence                     'V                         Corner

          Zoning                     IN                               R7A/C1-4

          Maximum FAR                                                     4

          Maximum Development      (sf)                                 29668

          Property Rights                                            Fee Simple

          Date of Sale                                                6/8/2017

          Sale Price                                                 $9,500,000

          Price Per Buildable SF                                        $320

          Grantor                                            801 Brothers Realty Corp
          Grantee                                            805 Washington Ave LLC




                                             Republic Valuations                        67




                                                                                             VA 012022
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                                                        The Sales Comparison Approach




                                                        tA
           Comparable Sale #4: 352 Clermont'4yenue, Brooklyn, New York

                                            01110.1
          Address                            * '352 Clermont Avenue'


          Location                            V4" " Brooklyn, NY
          Block/Lot                              ( '   2121/28

          Lot Size (SF)             %      Al           10000

          Property Type             ".a'            '             Development Site

          Lot Influence     ih                                         Mid Block

          Zoning          4'        'ti,   4.                             RSB

          Maximum FAR\                                                     2

          Maximum Development       (sf)                                 20000

          Property Rights      '*'                                     Fee Simple

          Date of Sale          -                                       3/9/2017

          Sale Price                                                   $7,400,000

          Price Per Buildable SF                                         $370
          Grantor                                         Rocklyn Ecclesiastical Corp
          Grantee                                             NY Fart Greene LLC




                                            Republic Valuations                         68




                                                                                             VA 012023
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                                                           The Sales Comparison Approach




            Comparable Sale #5: 197 WaverlyçpnuBrooklyn, New York



          Address                                    * '4..        I9TWa\,erly Avenue

          Location
                                             -

                                                      ,                 Brooklyn, NY

          Block/Lot                                    \C                   1903/1

          Lot Size (SF)                          A       *                  3563

          Property Type             '4.'uC P                           Development Site

          Lot Influence                                                   Mid Block

          Zoning          S'        "*       '4.                             RSB

          Maximum F'
                   AR'.                                                       2

          Maximum Development       çs   1                                  7126

          Property Rights      "4                                        Fee Simple

          Date of Sale                                                    6/28/2017

          Sale Price                                                     $3,200,000

          Price Per Buildable SF                                            $449
          Grantor                                            Adami Family Limited Partnership
          Grantee                                                197 Waverly Avenue LLC




                                                 Republic Valuations                            69




                                                                                                     VA 012024
Case 1:19-cv-06471-DLI-ST Document 63-19 Filed 06/24/22 Page 27 of 49 PageID #: 4497



                                                                                                                                    The Sales Comparison Approach

                                                                           Comparable Sales Map

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                            Battery Part.-                 -               Brooklyn, NY                                                              Comparable Sale 5
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                                                                                                       Republic Valuations                                                                                                             70




                                                                                                                                                                                                                                            VA 012025
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                                                                              The Sales Comparison Approach
                                                                 SUMMARY OF COMPARABLE LAND SALES & ADJUSTMENT GRID
                                                                                        SALES COMPARISON APPROACH
                                            Subject              Comparable Sale #1                 Comparable Sale #2                  Comparable Sale #3              Comparable Sale #4        Comparable Sale #5
                                    838-844 Allantic Ave &847
                                                                 90, 92 & 944th Avenue
Address                                   Pacific Street                                              484 Sterling Place               805 Washington Avenue            352 Clermont Avenue       197 Waverly Avenue
Location                                  Brooklyn, NY                Brooklyn, NY                         Brooklyn, NY                      Brooklyn, NY                   Brooklyn, NY              Brooklyn, NY
Block/Lot                               112211,68 & 71              395/35,36 & 31                           1174/18                             1180/6                        2121128                   1903/1
Lot Size (SF)                                7,176                        12,904                               9,825                             7417                           10,000                   3,563
Property Type                           Development Site            Development Site                  Development Site                     Development Site               Development Site          Development Site
Lot Influence                          Corner, Mid-Block           Corner, Mid-Block                        Mid Block                            Corner                      Mid Block                 Mid Block
Zoning                                  R6B Residential             R8A, EC-11C2-4                              R6A                           -RJA/CI-4                          R6B                      R6B

Maximum FAR                                   200                          6.02                                 3.00                              4.00\                          2.00                     2.00
Maximum Development         (O               14,352                       77,682                              29,475           6P                29,666    S.                  20,000                    7,126
Property Rights                            Fee Simple                  Fee Simple                          Fee Simple                         Fee Simple                     Fee Simple               Fee Simple
Date of Sale                                   N/A                   June 26, 2018                    October 10, 2017                    ,sJune 8, 2017                    March 9, 2017            June 28, 2017
Sale Price                                     N/A                    $22,885,631                          $15,000,000L                ,"$9,500,000                          $7,400,000               $3,200,000
Price Per Buildable SF                         N/A                         $295                                $509      '         j              $320                          $370                     $449
                                                                                                                                                                        Rocklyn Ecclesiastical    Adami Family Limited
Grantor                                                                 944th LLC                484 steillng 0 LLC &Al N              '801 Brothers Realty corp                 Corp                 Partnership
                                                                  4Th Avenue Developrrent
Grantee
                                                                        Os nsF LLC               48449       Sterlin   A NY thrp         805 Washington Ave LLC          NY Fort Greene Li       197 Waverly Avenue Li


Adjustments                                                                                                   I *Ali
Property Rights                                                           0.0%                                0.0%                                0.0%                          0.0%                     0.0%
Financing Terms
                                                                          0.0%"1
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Conditions of Sale                                                        0.0%t'                fl             0.0%                               0.0%                          0.0%                     0.0%
Market Conditions (time)                                                  0.0%     %        4   JII   SI       0.0 °/(                            0.0%                          0.0%                     0.0%
                                                                                                               0.0%                               0.0%                          0.0%                     0.0%
           Adjusted Price pbst                                     ,.'$295             '%S.                    $509                               $320                          $370                     $449
                       Location                              ,4"         Simila\         '%     t             Similar                            Similar                       Similar                  Similar

                                                           / f            0.0%'               '$.              0.0%                               0.0%                          0.0%                     0.0%
         Developable Site Area               14,352        %\            Similar v5    4                      Similar                            Similar                       Similar                  Similar
                                                            ",¼           0.0%                                 0.0%                               0.0%                          0.0%                     0.0%
           Utility: Lot Influence      Comer, Mid-Block           NComer, Mid-Block                         Mid Block                            Corner                      Mid Block                 Mid Block
                                                                                                               5.0%                               0.0%                          5.0%                     5.0%
                Approved Plans                None                      NSimilar                              Similar                            Similar                       Similar                   Filed
                                                                          0.0%                                 0.0%                               0.0%                          0.0%                     -5.0%
                         Zoning         R6B Residential             RBA, EC-1 /C2-4                             R6A                            R7A/C1-4                          R6B                      R6B


              Net Adjustments                                             0.0%                                 50%                                0.0%                          5.0%                     0.0%
    Adjusted Sale Price pbsf                                               $295                                $534                               $320                          $389                     $449
            Mm/mum                            $295
            Maximum                           $534
    Average Phcepbsf                          $397




                                                                Republic Valuations                                                                                71




                                                                                                                                                                                                                         VA 012026
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                                                  The Sales Comparison Approach

   CONCLUSION

   The adjustment process considers the value of the subject 'as is'.        The appraiser

   analyzed the comparable sales and after adjustments noted a range from $295 to $534

   per buildable square foot. The appraiser estimated the value for the subject site at $420

   psf based on the subject's location and based on weight given to the comps with similar

   zoning.



             (Buildable Area)   x    (Est. Value PBSF)                 (Total Value)



             14,352 (FAR) SF    x      $420 PBSF                        $6,027,840

                                                                Sa:S    $6,025,000




   Based on the preceding analysis, the market value of the Residential FAR of subject

   property via the Sales Comparison Approach is therefore concluded to be:




                            ILLION TWENTUY FIVE THOUSAND DOLLARS

                                         $6,025,000




                                        Republic Valuations                            72




                                                                                               VA 012027
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                                                 The Sales Comparison Approach


   For the final value via the sales comparison approach for the subject property the

   appraiser will combine the values of both the Commercial and Residential FAR.



      Commercial FAR                 Residential FAR                   As Is Sales
           Value                          Value                      Approach Value


         $13,100,000          +         $6,025,000                     $19,125,000



   Therefore, the market value of the subject property via tb eIes
                                                               14- Comparison Approach

   is concluded to be:



                                                 Ii.
        NINTEEN MILLION ONE HUNDRED TWENTY FIVE THOUSAND DOLLARS

                                        $19;125,000




                                       Republic Valuations                           73




                                                                                          VA 012028
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                                             The Sales Comparison Approach



     The following section values the subject site based on the
                    Proposed M-Crown Zoning.




                                   Republic Valuations                       74




                                                                                  VA 012029
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                                                       The Sales Comparison Approach

   ANALYSIS & ADJUSTMENT FACTORS

   On the following pages sales of development sites are presented. The sold properties
   represent sites similar to the subject situated within the subject immediate and
   surrounding neighborhoods. In the discussion below, the appraiser outlines various
   adjustments for market factors which differ from those of the subject.

   Adjustment Process Overview: In analyzing comparable sales data, it is important to
   note that the adjustment process adjusts the comparable sales to the subject.                In
   adjusting for significant variations between the subject and the comparable properties,
   the analysis includes a percent adjustment reflecting the appropriate market reaction to
   those items. If a significant item in the comparable property is superior to, or more
   favorable than, the subject property, a minus (-) adjustments made, thus reducing the
   indicated value of the subject; if a significant item in the comparable is inferior to, or less
   favorable than, the subject property, a plus (+) adjustient'is made, thus increasing the
   indicated value of the subject. For example, if thetcomparable sale has a location
   inferior to the subject, it would require an upwaradjustment'4n order to reflect the
   subject's geographical characteristics. All adjustnts4 utilized 'itfollow this process of
   adjusting the comparable sale to the subject.

   Real Property Rights Conveyed: The ansadtiôn,1price is always based upon the
   property interest conveyed. All of the r
                                          sa le sb transferred fee simple. Therefore no
   adjustments are required.

   Financing Terms: A property'ses prTcan also be influenced by the financing
   obtained to purchase the property. Any unu sual financing such as below rate financing,
                                         A,p       0
                                                   1

   balloon mortgages, installtnt saleswcontracts or any other unusual financing is
   examined and any approprjaajte 'diLfstrri'e•n ti
                                                  sapplied if necessary. Comparable sale #1
                                                  '
   features sellers financing -
                              ,an adj ustment was therefore applied.

   Conditions of Sale:, Conditions of sale adjusts for the motivation of the buyer and
   seller. An appropri'ate\adjustrnt is developed based on whether the sale was an
   arm's length transactiona7distressed property sale, a foreclosure or a land
   assemblage. Each of th'sales was verified to be an arm's length transactions and no
   adjustment was applied.

   Market Conditions/Date of Sale: This adjustment reflects the change in value from
   the date of sale to the date of appraised value caused by changes in market conditions.
   The adjustments applied to the comparable are derived from primary and secondary
   data extracted from the market as well as information provided by financial institutions
   and real estate publications. All the sales took place during a period of stable market
   conditions. Therefore, no adjustments were noted.

   Location: The factors that are considered in developing a location adjustment include
   visibility, access to major highways and traffic flow. After these factors are considered,




                                          Republic Valuations                                75




                                                                                                     VA 012030
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                                                  The Sales Comparison Approach

   an appropriate adjustment is developed and applied to the comparable sale.
   Comparable sales which are located in inferior locations were adequately adjusted.

   Developable Area:      We have adjusted the sales for size because the market
   recognizes an economy of scale whereby smaller sites sell at a higher price per square
   foot than larger ones.

   Approved Plans: The comparable sales that have approved plans were adequately
   adjusted to reflect the effort and money spent obtaining them.


   Zoning: The subject is pad of the proposed M-Crown zoning district which will allow for
   6.50 and 5.00 combined residential and commercial FAR. Comparable sales are
   located in residential districts with commercial overlays or in a commercial district that
   allows for residential development and are deemed superior as they can utilized the
   entire FAR for residential development, an adequate adjustment was therefore applied.




                                        Republic Valuations                             76




                                                                                                VA 012031
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                                                      The Sales Comparison Approach




           Comparable Sale #1: 90, 92           &t94 4th   Avue, Brooklyn, New York



          Address                       *'•'4      \C         90, 92 & 94 4th Avenue

          Location                 A*      1         *             Brooklyn, NY
          Block/Lot                                              395/35, 36 & 37

          Lot Size (SF)      ,..                                      12,904

          Property Type*'          4,     r
                                          4
                                                                 Development Site
          Lot            '4.,.
                lnfluence1
                                                                 Corner, Mid-Block

          Zoning          "4    0                                R8A, EC-1 /C2-4

          Maximum      FAR  "44'                                       602

          Maximum Developmek"((sf)                                    77,682

          Property Rights                                           Fee Simple

          Date of Sale                                            June 26, 2018

          Sale Price                                               $22,885,631

          Price Per Buildable SF                                      $295
          Grantor                                                   94 4th LLC
          Grantee                                      4th Avenue Development Owner LLC




                                           Republic Valuations                            77




                                                                                               VA 012032
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                                                       The Sales Comparison Approach




    Comparable Sale #2: Crown Street & MontgOni&ry Avenue, Brooklyn, New York



          Address                            ..   V Xco       'Sreet & Montgomery Avenue

          Location                      4' -'
                                            ta                       Brooklyn, NY

          Block/Lot                 .4       ,L                    1190/29,45 & 50

          Lot Size (SF)             "   *.a*'''t.                       55,083

          Property Type     AOR$b ,
                            r       -    4.                        Development Site
          Lot Influence,*"          'r*..  4                       Corner, Mid-Block

          Zoning         "0k                                             R6A

          Maximum FAR           4       AN                                 3

          Maximum De'elopment.(sf)                                      165,249

          Property Rights                                             Fee Simple

          Date of Sale                                               July 24, 2018

          Sale Price                                                 $41,025,000

          Price Per Buildable SF                                        $248
          Grantor                                                  Cornell Crown LLC
          Grantee                                            CF VI Crown Heights, LLC




                                             Republic Valuations                           78




                                                                                                VA 012033
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                                                         The Sales Comparison Approach




             Comparable Sale #3: 484 SteThng,flaEeBrooklyn, New York



          Address                                                    484 Sterling Place

          Location               4 tir      ,Nt..                      Brooklyn, NY

          Block/Lot                                                       1174/18

          Lot Size (SF)     St..
                            1            '*k                               9825

          Property TypeY           '*       *                        Development Site

          Lot Influence*,Mid Block

          Zoning            4.        Ø                                     R6A

          Maximum FAR                                                        3

          Maximum Development        (sf)                                 29,475

          Property Rights                                               Fee Simple

          Date of Sale                                               October 10, 2017

          Sale Price                                                   $15,000,000
          Price Per Buildable SF                                           $509

          Grantor                                             484 Sterling P1 LLC & Al LLC
          Grantee                                             484-490 Sterling Fl NY Corp




                                               Republic Valuations                           79




                                                                                                  VA 012034
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                                                      The Sales Comparison Approach




          Comparable Sale #4: 805 Washington Avenue, Brooklyn, New York



          Address                     ,           \ P'       8d5 Washington Avenue

          Location                                                 Brooklyn, NY

          Block/Lot            %h         rtL'Y                        1180/6

          Lot Size (SF)                                                7417

          Property Type,4'"4..            '4.                     Development Site
          Lot Influence                     'V                        Corner

          Zoning                     IN                              R7A/C1-4

          Maximum FAR                                                    4

          Maximum Development      (sf)                                29668

          Property Rights                                           Fee Simple

          Date of Sale                                               6/8/2017

          Sale Price                                                $9,500,000

          Price Per Buildable SF                                       $320

          Grantor                                            801 Brothers Realty Corp
          Grantee                                            805 Washington Ave LLC




                                            Republic Valuations                         80




                                                                                             VA 012035
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                                                        The Sales Comparison Approach




                                                        tA
           Comparable Sale #5: 352 Clermont'Avenue, Brooklyn, New York

                                            01110.1
          Address                            * '352 Clermont Avenue'


          Location                            V4" " Brooklyn, NY
          Block/Lot                              ('    2121/28

          Lot Size (SF)             %      Al           10000

          Property Type             ".a'            '             Development Site

          Lot Influence     ih                                         Mid Block

          Zoning          4'        'ti,   4.                             RSB

          Maximum FAR\                                                     2

          Maximum Development       (sf)                                 20000

          Property Rights      '*'                                     Fee Simple

          Date of Sale          -                                       3/9/2017

          Sale Price                                                   $7,400,000

          Price Per Buildable SF                                         $370
          Grantor                                         Rocklyn Ecclesiastical Corp
          Grantee                                                NY Fart Greene LLC




                                           Republic Valuations                          81




                                                                                             VA 012036
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                                                                                                                               The Sales Comparison Approach

                                                                      COMPARABLE SALES MAP
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                                DUMBO                                                  ,                      A                                                      BROADWAY
                                                                                                                               >                                     TRIANGLE

           Yin
           Ask
                                                                                                         :.,                                                                        SUM        ER-

                                                                                                                                                                                    HOUSES
           ROOK LV N r'TJ' I l'± -                                             Comparable Sale S
           HEIGHTS       ,S        .                r                          352ClermontAvenue                           I
                     -      Loriqisland                                        Brooklyn,NY                                            -


                                  t    -        H        Brooklyn —            0.43 miles NW                                        \
                                                                                                                                    \j
           'New York Q                          '1Qr-For1Greene'                                                       -
           ut Museum                       4r              Park                                                                  c,
                                                                                                                                                                           ruse
                                      /                       oekethAye                                      CLINTON HILL:



            E HILL                                            -
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                                                                                                                X                            a                                          05,eaMt              -
                                                                                                                                                                                                             —

                            -   -'-          Subiect                                                                                          Comparable Sale 3
                             .'       BOERUM 84OAtlanicAvenue                                                                                 484 Sle9qg Place
                                             Brooklyn, NY,                                 e:    I                                            Bra obMi,$Y
                                                                                                                                              a r lies SE                                               STU
                                                                                                                                                                                                          H
                       Brooklyn9                                                                                                                            Otow Si
           L Boulders Gowarius
           S           / .'    Comparable Sale 1
                               tO,92&94 4thAvenue                                                    PRO          •'                                                   BR0OKLVN.,                        A
                               Brooklyn. NY                                                           HEI
             -              -: 0.71 miles NW                                                                                                                      Brooklyn
                                                                                                 •9
                                                                                                                                                       Children's Museum
                                                                                                   id


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                                                    N                                                •   j3Zo
                      GOWANUS                                         oo
                                                                           0                             'Museum



                                                                                                                                                                                               r
                                                    :-
                                                                                                                               onto
                                                                                                                            erden
                                                                                                                                 lyn             Comparable Sale 2
                                                                                                                                                 Crown Street &Montgomery Avenue
                                                                                                                                                 Brooklyn, NY
                                                                                                                                                                                               F twa Pkwy
                                                    PA    -       LOP                                    —                                       1.05 miles SE
           III        •'-
                                                                                                     Comparable Sale 4
                                                                                                      Q,5 Washington Avenue                                           -

                                                                                                       ooklyn, NY                                               -.
                                                                                                     0.68 miles SE                                                     5mph' eNd
           -/                                                                               PS                                                                                                               I

                            SOUTH SLO                                                      Prospect Park                                                                            Ktngsbrook Jew,sht
                                                                                                                                                       PROSPECT                         Medical Center
                 A.
                                                                               0%                                                                      LEFFERTS
                                                                                                                                                       GARDENS
                                                                                                                                                                                  9Kings County Ho
           rOOD                                                                                                                                                                   ct.iksmiMt
            rs                                                                                                                             Ciadiwoe   Awe
                                                              .\
                                                                            Prospect Park                     9
                                                          -   .            Parade Ground                 -                                              ©
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                                                                  ,,;•;        \'.\s                                                                                                                    EA

                                                                                                 --PROSPECT
                                                                                                 PARK SOUTH
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           "S                                                                                                                                    cla,eadofl Rd

                                                                                                              FLATBUSH
                                                                                                              DITMAS PARK
            Google                                                                                                                                                                 Mae data 2Ol9 Googte
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                                                                                                 Republic Valuations                                                                                             82




                                                                                                                                                                                                                      VA 012037
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                                                                                 The Sales Comparison Approach
                                                                  SUMMARY OF COMPARABLE LAND SALES & ADJUS TMENT GRID
                                                                                        SALES COMPARISON APPROACH
                                            Subject                Comparable Sale #1          Comparable Sale #2               Comparable Sale #3            Comparable Sale #4          Comparable Sale #5
                                    838-844 Atlantic Ate & 847                                      Crown Street &
                                                                   90,92 & 94 4th Avenue
Address                                   Pacific Street                                       Montgomery Avenue                    484 Sterling Place        805 Washington Avenue       352 Clermont Avenue
Location                                  Brooklyn, NY                    Brooklyn, NY               Brooklyn, NY                         Brooklyn, NY             Brooklyn, I'fY             Brooklyn, NY
Block/Lot                                1122)1,68 & 71                 395135,36 & 37             1190/29,45 & 50                          1174/18                    118016                    2121/28
Lot Size (SF)                                29,000                          12,904                        55,083                           ,9.825                     7,417                     10,000
Property Type                           Development Site                Detelopment Site           Development Site                  Detéloment Site             Development Site           Development Site
Lot Influence                          Corner, Mid-Block                Corner, Mid-Block          Corner, Mid-Block                 ft    Mid Block                   Coiner                   Mid Block
Zoning                                Proposed M-Crown                  R8A, EC-1 /C2-4                     R6A                 ,          ' R6A
                                                                                                                                           1%                        R7AIC1-4                      R6B
                                      8-5 &5-0 Coritined FAR
Maximum FAR                          (Rasidentiai& Commercial)                6.02                          3.00                                3,00                    4.00                       2,00
Maximum Development (s                       170,500                         77,682                       165,249                           29,475%                    29,668                    20,000
Property Rights                            Fee Simple                      Fee Simple                    Fee Simplá   V             A'    Fee Simple                Fee Simple                 Fee Simple
Date of Sale                                   N/A                       June 26, 2018               July 24, 2016 \            9October10, 2017                   June 8, 2017               March 9, 2017
Sale Price                                     N/A                        $22,885,631                $41,025,000.¼4             P         $15,000,000               $9,500,000                 $7,400,000
Price Per Buildable SF                         N/A                            $295                   -     $248       IN                        $509                    $320                      $370
                                                                                                                           '\                                                             Rocklyn Ecclesiastical
Grantor                                                                   944th LLC                me Crown LLQ "484 Sterling R LLC&AI LLC                     801 Drothera Realty Corp           Corp
                                                                    4th Avenue Developrrent               "x       "._.._,..


Grantee                                                                   owner trc            CPVI& V nHetttC. p484-490 Sterling R W Corp                     805 Waahington Ave LLO      NY Fort Greene LLC
                                S
Adjustments                                                                                    t
Property Rights                                                               O.O%f           10           0.0%                                 0.0%                    0.0%                      0,0%
Financing Terms                                                               O.0°/    j t...._._0,0%                                           0.0%                    0.0%                      0.0%
Conditions of Sale                                                            0.0%_4..4r         Q.0%                                           0.0%                    0.0%                      0.0%
Market Conditions (time)                                                 ,,....,0.0%      (                0.0%                                 0.0%                    0.0%                      0.0%
                                                                   ,##s"O.O%            "%                 0.0%                                 0.0%                    0.0%                      0.0%
           Adjusted Price pbsf                                   /9'          $295  %,                     S248                                 5509                    $320                      $370
                       Location                             4(               Similanp 4                   Similar                           Similar                    Similar                   Similar
                                                                   S.         0.0%      4                  0.0%                                 0.0%                    0.0%                      0,0%
         Developable Site Area               170,500               's4.      Similar-
                                                                                    A                     Similar                           Similar                    Similar                   Similar
                                                                        "4.o.o°iof                         0.0%                                 0,0%                    0,0%                      0,0%
           Utility: Lot Influence      Comer, Mid-Block                 Comer>Mid-Block            Comer, Mid-Block                        Mid Block                   Comer                    Mid Block
                                                                              0.0%                         0.0%                                 5.0%                    0.0%                      5.0%
                Approved Plans                None                           Similar                     Approved                           Similar                    Similar                   Similar
                                                                              0.0%                        -15.0%                                0.0%                    0.0%                      0,0%
                         Zoning       Proposed M-Crown                  R8A, EC-1 102-4                     R6A                                 R6A                  R7A/C1-4                      R6B
                                                                             -5.0%                         -5.0%                                -5.0%                  -5.0%                      -5.0%
              Net Adjustments                                                -5.0%                        -20,0%                                0,0%                   -5,0%                      0,0%
    Adjusted Sale Price pbsf                                                  $280                         $199                                 $509                    $304                      $370
            Minimum                           $199
            Maximum                           $509
    Average Price pbsf                        $332




                                                                 Republic Valuations                                                                     83




                                                                                                                                                                                                                   VA 012038
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                                                        The Sales Comparison Approach

   CONCLUSION

   The adjustment process considers the value of the subject "as is".           The appraiser

   analyzed the comparable sales and after adjustments noted a range from $199 to $509

   per buildable square foot, with an average price of $332 PBSF. Therefore the appraiser

   estimated the value for the subject site at $330 psf.



          (Buildable Area)     x       (Est. Value PBSF)                   (Total Value)



          170,500 (FAR) SF      x       $330 PSF                           $56,265,000




   Based on the preceding analysis, the market value of the subject property based on the

   Proposed    M-Crown       Zoning   via    the   Sales   Comparison   Approach   is   therefore

   concluded to be:




         FIFTY-SIX MILLION TWO HUNDRED SIXTY-FIVE THOUSAND DOLLARS

                                              $56,265,000




                                            Republic Valuations                             84




                                                                                                    VA 012039
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                                                                             Reconciliation

   The values indicated by the approaches used in this analysis are:

   THE COST APPROACH:                                          Not Applied



       AS IS MARKET VALUE:

       SALES APPROACH:                                          $19,125,000




      AS IS MARKET VALUE (BASED ON M-CROWN ZONING):

       SALES APPROACH:                                          $56,265,000


   THE INCOME APPROACH:                                          Not Applied


   To value the subject, sole reliance was placed on Sales Comparison Approach which

   examines comparable land sales.      The CostApproach could not be applied without a

   specific development plan.     The.site as"
                                            tif vacant would provide little or no income.

   Therefore, the Income Approach
                                "wa s         consi dered relevant.



   Therefore, it is the opiñion'of'the"a'ppraiser that the As Is Market Value estimate of the
                      AOK
   Development    valueptthe   subject property, as of January 8, 2019 is:

        NINTEEN MILLIONDNEHUNDRED TWENTY FIVE THOUSAND DOLLARS
                               'V
                                           $19,125,000



   In addition, it is our informed conclusion that the As Is Market Value of the Fee Simple

   Interest of the subject property based on the proposed M-Crown zoning, as of January

   8, 2019, is:


         FIFTY-SIX MILLION TWO HUNDRED SIXTY-FIVE THOUSAND DOLLARS

                                          $56,265,000




                                         Republic Valuations                            85




                                                                                                VA 012040
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                                                                    Addendum

                         Proposed M-Crown Zoning Information




            Bulk analysis, development -model,
            November 28, 2016 aJiL4




                                   Republic Valuations                      86



                                                                                 VA 012041
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                                                                          Addendum




            M-CROWN goals
             Rezone the current Mi -i district to increase available
             density for commercial/manufacturing uses mixed with
             residential

             Use market rate residential development to cross-subsidize
             affordable housing and manufacturing

             community
             Set affordability
                          district 8 based on median moo
                                levels


             Tailor allowable manufacturing uses i1 the new zone ti
             maximize potential for living wage jbSs    "




                                      Republic Valuations                      87




                                                                                     VA 012042
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                                                                                                       Addendum




            DCP 2018 framework
                                                                     SB


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             Development Vision                 Mx    C    RCA   I
                                                                 '



                                                           -     L          R7


              [j       High-density C:Significant new vidential nd Commercial
                   -   GrFL. Non-Residentialr quiremen't
              LJ       New Higher Densit     tejal M     Preserve existing job clusters and incentivize new
                       New Medium Dr     -y Con$:ual M çcommercial/industriol
               j       MX. Signifscan Qew residential and,jyj12il1ow commercial/industrial
                                -   -




                                                     Republic Valuations                                      88




                                                                                                                   VA 012043
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                                                                                                 Addendum




            Proposed subzone densities
            and envelopes
                                                                     FAR
            Subzone             Height                     M-CROWN   Other non-
                                              Total                                Residential
                                                             uses    residential

            C                   145 ft.       6.50                         1.90       4.60

            MX -side            105 ft.       5.00           0.25          1.15       3.60

            MX -avenue          105 ft.       5.00                      0.40          4.60

            M   -   medium       75 ft.       3.00           0.50       2.50

            M -high             lion.         5.00           1.00      iWO



                    M-CROWN uses include
                      • Light industrial applications
                      • Studios for the full range of artses (art, filrund, dance, etc.)and
                                                       10
                        space for arts and culture organjzations
                      • Child care

                      • Medical offices
                    FAR for C and MX subzbKes irfclüdes M
                                          S           14
                    M subzones includ(preferenjial FARJoj4CROWN uses




                             Q

                                                      Republic Valuations                             89




                                                                                                            VA 012044
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   QUALIFICATIONS OF VICTOR SCHLESINGER


   New York and New Jersey Certified General Real Estate Appraiser

   Victor Schlesinger is the President of Republic Valuations, a firm providing real estate appraisal and consulting

   services. The following is asummary resume of his background and experience.



   EXPERIENCE

   Mr. Schlesinger has more than 25 years of experience in the real estate field and 15+ years of experience as areal

   estate appraiser, arbitrator and consultant in the fields of real estate and urban economics. He has conducted

   numerous real estate appraisals of office buildings, research and development (R&D) buildings, industrial facilities,

   retail stores and shopping centers, hotels, apartments, condominiums and vacant land. Mr. Schlesinger's real estate

   appraisal expertise is focused on urban/suburban buildings, developmnt4j ects and land. He has extensive

   experience in appraising real estate for condemnations, rental and other appraisal arbitration matters, property tax

   assessment appeals, mortgage loans, assessment districts, community facilities districts and similar public finance

   bond financing. Analysis and valuation of leasehold, leased fe         and other real estate interests are standard areas of

   practice. He also has experience in cost revenue analyses as they relate to municipal fiscal impacts from aland use

   project. Mr. Schlesinger is an Associate Member of tS Appraisal Institute and is licensed as aNew York and New

   Jersey Certified General Real Estate appraiser.


   Mr. Schlesinger frequently provides liti'ation support           ud serves as an expert witness in court or in private

   arbitration proceedings. He also acts as either an utral or party arbitrator in resolving matters of real estate values,

   rents and related issues. He has been qualified as ateal estate appraisal expert and provided testimony in the New

   York court system and in the Fdcr 1United States courts.


   Republic Valuations is areal estate appraisal and consulting firm. The firm has a staff of approximately 10 real

   estate appraisal and market ye earch pro ftssionals. Mr. Schlesinger has overall management responsibility for the

   firm, as well as being the partner   in   charge of many specific appraisal, arbitration and consulting assignments.


   Other related experience includes teaching, speaking and publications on various facets of real estate appraisal,

   arbitration and market research.



   PROFESSIONAL AFFILIATIONS & STATE CERTIFICATION

   State of New York Certified General Real Estate Appraiser No. 46000047078
   State of New Jersey Certified General Real Estate Appraiser No. 42RG00225700
   Associate Member of the Appraisal Institute Metropolitan New York chapter




                                                           Republic Valuations                                                    90




                                                                                                                                  VA 012045
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                        EXECUTIVE LAW AS   IT RELATES TO R. E.         APPRAISERS.                     01     16     19



                                                                                                   EXPIRATION DATE
                                      SCHLES INGER VICTOR                                              MO     DAY    YR
                                      C/O REPUBLIC VALUATIONS                                          01 115 21
                                      578 BEDFORD AVE
                                      20
                                      BROOKLYN,    NY    11211




                  WAS BEEN DULY CERTIFIED TO TRANSACT BUSINE
                  R. E. GENERAL APPRAISER


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       L 100fR., 3011
                                                                                SECRETARY OF STATE




                                            Republic Valuations                                                           91




                                                                                                                               VA 012046
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                                    REPUBLIC VALUATIONS


                       184 PARK AVENUE, BROOKLYN, NEW YORK 11205


      PHONE: 718-625-6900   •   FAX: 718-625-6898   •   e-mail: Email@RepublicValuations.com



                      REAL ESTATE APPRAISERS 4 CONSULTANTS




                                                                                               VA 012047
